        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 1 of 51                     FILED
                                                                                 2019 Mar-07 PM 03:39
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        WESTERN DIVISION

                                          )
ADAM JONES and                            )
JOSHUA HASTINGS,                          )
                                          )
      Plaintiffs,                         )
                                          )
v.                                        ) Case Number:
                                          )
BUZZFEED, INC., BUZZFEED                  ) JURY TRIAL REQUESTED
NEWS, BEN SMITH,                          )
and KATIE J.M. BAKER,                     )
                                          )
                                          )
      Defendants.                         )
                                          )


                                  COMPLAINT


      COME NOW the Plaintiffs Adam Jones (“Jones”) and Joshua Hastings

(“Hastings”) (collectively “Plaintiffs” or “Investigators”) and complain against

Defendants BuzzFeed, Inc. (“BuzzFeed”), BuzzFeed News, a division of BuzzFeed,

Inc., its Editor in Chief, Ben Smith (“Smith”), and its Senior National Investigative

Reporter, Katie J.M. Baker (“Ms. Baker) (collectively “BuzzFeed Defendants”)

regarding a libelous BuzzFeed News Article written, published and distributed by

the Defendants beginning on June 22, 2017. The investigative articles focus on the

suicide death of a University of Alabama student who claimed a wealthy Tuscaloosa


                                                                        Page 1 of 51
            Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 2 of 51




man sexually assaulted her and the related police investigation of her claims. In

support of this Complaint the Plaintiffs state the following:

                               JURISDICTIONS and VENUE

          1.     Under 28 U.S.C. § 1332(a)(1), this Court has jurisdiction over

Plaintiffs’ claims where the parties are citizens of different states, and the amount

in controversy exceeds Seventy-Five Thousand Dollars ($75,000).              Plaintiffs’

claims for defamation libel arising under the laws of the State of Alabama are

properly before this Court under its diversity and supplemental jurisdiction under

28 U.S.C.§1367.

          2.     Under 28 U.S.C. § 1391(b)(2), the venue is proper in this United States

District Court because both Plaintiffs, Adam Jones, and Joshua Hastings, reside and

work in Tuscaloosa County, Alabama, were injured in this Federal Judicial District

in Tuscaloosa County. The defamatory statements were written, published, and

distributed through the BuzzFeed Defendants News Website. The alleged

“Investigative News Report” was distributed purposefully to a worldwide audience

through the internet and its various distribution constituents. Defendant BuzzFeed’s

Senior Investigative Reporter, Defendant Katie J.M. Baker, wrote the defamatory

article and admittedly reported from Tuscaloosa, Alabama. 1 The Plaintiff

investigators were targeted in the article, were defamed therein and were wrongfully


1
    The complete article is attached as Exhibit 1 to this Complaint.
                                                                           Page 2 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 3 of 51




subjected to infamy and ridicule in their local community and state and, in fact,

around the world due to the Article’s libelous falsehoods about them. The subject

of the article was an alleged sexual assault event which took place in Tuscaloosa

County. Accordingly, both jurisdiction and venue in the United States District Court

for the Northern District of Alabama, Western Division is proper, and Plaintiffs,

Jones, and Hastings chose this forum.

      3.     This Court has specific personal jurisdiction over Defendants under

Alabama’s long-arm statute, as well as under the Due Process Clause of the U.S.

Constitution, because, among other things, the causes of action asserted in this

Complaint arise from Defendants transacting business in Alabama and causing

tortious injury by acts or omissions in Alabama and particularly in Tuscaloosa

County, Alabama. Moreover, exercising jurisdiction here would not offend

traditional notions of fair play and substantial justice because Defendants could and

should have foreseen being sued in an Alabama federal or state court to account for

their defamatory statements targeting police officers who are citizens and residents

of Tuscaloosa County, Alabama.

      4.     The BuzzFeed Defendants knew that both plaintiffs, Jones and

Hastings, were residents of Alabama and that their purposeful act of writing and

publishing an article falsely and maliciously critical of the Plaintiff officers, the

University of Alabama, DCH Regional Medical Center, the county District


                                                                        Page 3 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 4 of 51




Attorney, and the Sheriff’s Department, manifests BuzzFeed’s’ intent to aim their

defamatory publication into Alabama, at an Alabama audience in regard to Alabama

citizens.

      5.     BuzzFeed also regularly solicits business in Alabama and derives

substantial revenue from advertising resulting from directing news and other

publications, including the articles at issue in this action, into Alabama and to the

residents of Alabama.

      6.     BuzzFeed’s Investigative Reporter, Ms. Baker, conducted multiple

interviews in and directed myriad communications via phone and email into

Tuscaloosa, Alabama as part of her prepublication “investigative” work in

authoring the news article that is the subject of the suit. For example, the article

reveals Ms. Baker had direct communication with numerous individuals in

Tuscaloosa County, including employees of the Sherriff’s Department and other

involved individuals and entities. There were many e-mails to and from the Captain

of the multi-agency, County Homicide Division and the direct supervisor of

Investigator Plaintiffs, Jones, and Hastings.

      7.     Accordingly, the venue is proper in this Court, and this Court has

jurisdiction here because the case and associated activity and damages arose and

occurred in this District. The Plaintiffs reside in Tuscaloosa, Alabama and the

Defendants are citizens of and domiciled in other states such that complete diversity


                                                                        Page 4 of 51
         Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 5 of 51




exists. The damages, as shown herein, to each Plaintiff far exceed the jurisdictional

amount, seventy-five thousand dollars ($75,000.00).

       8.     Plaintiff Adam Jones is a United States Citizen and an adult resident

of Tuscaloosa County, Alabama. Jones is an Officer and Investigator for the City

of Tuscaloosa assigned to “Tuscaloosa Metro Homicide Unit,” a multi-agency task

force investigating violent crimes, including sex offenses in Tuscaloosa County,

Alabama.

       9.     Plaintiff Joshua Hastings is a United States Citizen and an adult

resident of Tuscaloosa County, Alabama. Hastings is a Deputy Sheriff and was an

Investigator for the Tuscaloosa County Sheriff’s Department who was also assigned

to the “Tuscaloosa Metro Homicide Unit,” during the investigation that is the

subject of this suit.

       10.    Defendant BuzzFeed Inc. is a Delaware corporation publishing

content, including the article relevant to this suit, through its division called

BuzzFeed News, directed at and into Tuscaloosa County, Alabama. BuzzFeed owns

and operates a global cross-platform network including the BuzzFeed.com website,

mobile apps, and easily accessible content through many digital platforms. At all

times relevant hereto BuzzFeed was and is publishing content in Tuscaloosa

County, Alabama and the surrounding area and the articles it published defaming

the Plaintiffs were allegedly investigated in, reported from, distributed to, and


                                                                        Page 5 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 6 of 51




targeted Tuscaloosa local citizens and The University of Alabama and particularly

other individuals and entities in this county and state.

      11.    Defendant Ben Smith is an adult individual who, on information and

belief, resides in the state of New York. Smith is the Editor in Chief of BuzzFeed

News. Mr. Smith supervises BuzzFeed’s reporters. Mr. Smith directly oversaw and

controlled the publication and content of the Articles involved here, as well as the

investigative reporter, Ms. Baker. Baker, BuzzFeed’s Senior Investigative Reporter,

wrote the initial defamatory article about the plaintiffs and assisted regarding the

second article.

      12.    Defendant Katie J.M. Baker is an individual who, on information and

belief, resides in New York, New York but who is now assigned to London by

BuzzFeed. Baker is BuzzFeed’s Senior National Investigative Reporter. Baker,

reporting from Tuscaloosa, Alabama, wrote the first defamatory article which

BuzzFeed News published on June 22nd, 2017. (Attached hereto and incorporated

herein as Exhibit 1). Baker also assisted with a follow-up article that BuzzFeed

published regarding the filing of a lawsuit by the parents of the Alabama co-ed on

July 3, 2017, regarding her death which also libeled Plaintiffs Hastings and Jones.

(Attached hereto and incorporated herein as Exhibit 2).




                                                                       Page 6 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 7 of 51




                                        FACTS

      13.    On June 22, 2017, Defendants, BuzzFeed, through its division,

“BuzzFeed News,” Smith, and Ms. Baker published BuzzFeed’s initial false,

slanted, and libelous article regarding Investigators Jones’ and Hastings’

investigation of the alleged sexual assault of Megan Rondini. The article also

discusses the tragic suicide death of Ms. Megan Rondini, a 20-year-old former

University of Alabama student from Austin, Texas and claims that her death

resulted, in part, because the Plaintiff officers failed to do their job in investigating

the Rondini case.

      14.    The article was headlined, subtitled, and captioned as follows:

              “A College Student Accused a Powerful Man of Rape. Then

              She Became a Suspect” and “How Accusing a Powerful Man

              of Rape Drove a College Student to Suicide.” “When an

              Alabama College Student Told Police She Was Sexually

              Assaulted, She Did Everything She Thought She Was

              Supposed to Do. She Ended Up Killing Herself.”

These headlines indicate that the purpose of the news article is to report the facts as

to how and why Ms. Rondini’s sexual assault accusation ended in her suicide.

      15.    The BuzzFeed article reports that the Plaintiffs, Tuscaloosa County

Homicide Investigators, Josh Hastings, and Adam Jones, through their investigation


                                                                           Page 7 of 51
           Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 8 of 51




intentionally covered up a powerful Tuscaloosa man’s rape of Ms. Rondini. The

article depicts both Hastings and Jones as corrupt law enforcement officers whose

sub-standard and illegal investigative conduct eventually played a significant role

in Ms. Rondini committing suicide. These allegations were contrived, baseless, and

false. Defendants, Baker, Smith, and BuzzFeed knew the libelous and malicious

content, implications, and insinuations about Hastings and Jones were false.

Nevertheless, the Defendants published the libelous material with the motive of

furthering the Defendants’ goal and agenda to sensationalize the alleged elite

college campus “rape culture” scenario that had long been BuzzFeed/Baker’s target

topic.

         16.    On July 3rd, 2017, the BuzzFeed Defendants published a second false

and libelous article entitled “The Parents of a College Student Who Killed

Herself After Reporting She Was Raped Have Filed A Wrongful Death Suit.” 2

This article confirmed and repeated BuzzFeed’s first article’s untrue narrative that

Investigators Hastings and Jones incompetently and corruptly investigated Ms.

Rondini’s rape allegations and wrongfully treated Rondini as a criminal suspect,

with derision, and without cause, to induce her not to prosecute her alleged rapist.

BuzzFeed was admittedly in possession and aware of factual information showing

the reported facts about the Plaintiffs were most likely false.


2
    See Exhibit 2 attached hereto and incorporated herein
                                                                       Page 8 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 9 of 51




      17.    Jones and Hastings acted during the investigation of the Rondini/Bunn

situation as honorable law enforcement officers who diligently and competently

investigated the case with absolute honesty and integrity. Jones and Hastings

investigated and discovered the actual facts as was their duty and acted

appropriately. The BuzzFeed Defendants knew this long before writing and

publishing the subject articles. The articles nevertheless falsely and maliciously

alleged that Bunn’s family’s political power, wealth and status in Tuscaloosa

influenced the Plaintiffs’ investigation so Mr. Bunn would not face any charges for

the suspected rape. Furthermore, the article falsely and maliciously claims that Ms.

Rondini’s subsequent suicide in Texas 7 months later was caused, in part, when the

Plaintiff officers’ purposefully misconducted the investigation to help Bunn and

thereby incompetently performing their job.

      18.    The articles are specifically and comprehensively libelous of the

Plaintiffs. The Defendants, purposely, recklessly, and with knowledge of the

articles’ false statements and implications, or in reckless disregard of the truth,

libeled the Plaintiffs maliciously and with intent to destroy their reputation and good

name and to hold them up to ridicule and hatred in their community and state, and

in fact, nationally and worldwide.

      19.    Defendants were aware of and had access to investigative materials

such that they did know or should have known the articles they published contained


                                                                         Page 9 of 51
           Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 10 of 51




accusations and statements about and against the Plaintiff Investigators Jones and

Hastings that were false and defamatory. The Defendants acted purposely with

motive simply ignoring and ran from the truth in publishing worldwide the libelous

material       about   Jones    and    Hastings    and    in   attacking   others   in   the

Tuscaloosa/University of Alabama community.

         20.    Moreover, Defendants purposely, consistently, with motive and

agenda omitted critical facts they were privy to before publishing the articles such

that they knew they were not publishing the truth about the Plaintiff officers or their

investigation.

         21.    BuzzFeed’s articles report that the Plaintiffs, working as Investigators

for the Tuscaloosa County, Homicide Unit, illegally and deliberately conducted

Rondini/Bunn’s alleged sexual assault investigation in a manner to protect the

alleged rapist, T.J. Bunn, Jr., because Bunn was from a powerful, wealthy and

influential family. The article claims the University of Alabama did not support

Rondini as it should have also deference to Bunn and his family. 3

         22.    Defendants purposely, with actual malice, published these false

articles on their worldwide “news” website offering the opportunity to others to

repeat the publication with multiple “share,” “comment” and “like” options on

social media sites like Facebook, Twitter, etc.


3
    See Exhibits 1 and 2 attached hereto and incorporated herein
                                                                             Page 10 of 51
           Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 11 of 51




         23.    The Defendants encouraged the natural and probable consequence that

other media outlets and social media connections would share/distribute these

libelous articles. BuzzFeed’s ultimate motive and goal was for the insidious articles

to go “viral” spreading far beyond BuzzFeed’s news website. The libelous articles’

repetition to the public worldwide caused hatred and vitriol aimed at Investigators

Hastings and Jones in the city, state, and country where they reside and work and

beyond.

         24.    On September 24, 2018, Plaintiffs’ counsel sent a retraction demand

(attached hereto and incorporated herein as Exhibit 3) to the Defendants asking

that BuzzFeed retract and publish the truth.

         25.    On October 11, 2018, BuzzFeed’s counsel responded by letter

(attached hereto and incorporated herein as Exhibit 4) refusing the request to

retract.

         26.    BuzzFeed published the initial article      4
                                                                on June 22, 2017, showing

Defendant Ms. Baker to be the author. Baker, at all times pertinent here, was

employed by BuzzFeed Inc., worked for Smith who was BuzzFeed’s editor and

Baker’s supervisor. These Defendants were acting on behalf of and for BuzzFeed

Inc. in its news division and were doing so within their authority and according to

their jobs with the company.


4
    See Exhibit 1 attached hereto and incorporated herein
                                                                            Page 11 of 51
       Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 12 of 51




      27.    The incident leading to Ms. Rondini’s assault allegations against T.J.

Bunn, Jr. occurred during the night of July 1, 2015, and into the early morning hours

of July 2, 2015. Thus, BuzzFeed published “news articles” regarding the events it

claims led to Ms. Rondini’s death approximately two years after her situation began

and long after it was investigated and closed by law enforcement, Jones and

Hastings, and criminal prosecution entities, including the District Attorney and a

Grand Jury. Thus, BuzzFeed admittedly had and/or had access to the investigative

files and materials involving the Rondini/Bunn sexual assault situation and the

subsequent investigation by the Plaintiff officers.

      28.    Ms. Rondini, tragically, took her own life alone in Dallas, Texas in

February of 2016, more than sixteen (16) months before BuzzFeed published its

initial article claiming to be an “investigative report” of the circumstances leading

to Ms. Rondini’s suicide.

      29.    Ample time existed within which BuzzFeed, its reporter and editor

should/could have and/or did discover the true facts. The Defendants could have

reported accurately and fairly regarding the subject events. Nevertheless, the

Defendants had, knew of, but ignored the facts, distorted those facts and

intentionally published malicious falsehoods about the Plaintiff investigators and

their investigation of the allegations Ms. Rondini made regarding the alleged assault

by Mr. Bunn in July of 2015.


                                                                      Page 12 of 51
           Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 13 of 51




         30.     BuzzFeed, Mr. Smith, and Ms. Baker, published false, distorted and

libelous material in the BuzzFeed news articles with knowledge of or in reckless

disregard of the falsity of said statements and implications about Jones and

Hastings. The Defendants purposely, with malice toward the Investigators Hastings

and Jones, published libelous, defamatory material discussed below.

         31.The first article’s heading/captions are,

                 “A College Student Accused a Powerful Man of Rape. Then

                 She Became a Suspect” and “How Accusing a Powerful Man

                 of Rape Drove a College Student to Suicide.”

These headlines purposely led readers to believe, when read in context with the

article, that Investigators Jones and Hastings, were involved in a departmental

conspiracy to protect the accused rapist because he and his family were powerful

and popular. The BuzzFeed claim was that Jones’ and Hastings’ misconduct in

failing to do their investigative jobs properly, let Rondini’s rapist avoid prosecution

and caused Megan Rondini’s suicide.

         32.     Baker writes in the first article, “Megan never imagined that she

would soon be cast as a criminal, or that investigators would view Sweet T- really

T.J. Bunn, Jr., son of an influential Tuscaloosa family – as the true victim. But

that’s exactly what happened.” 5 The claims in the quoted language are false and


5
    See Exhibit 1, attached hereto and incorporated herein.
                                                                        Page 13 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 14 of 51




contrary to facts that BuzzFeed knew. Jones and Hastings did not “cast” Megan

Rondini as a criminal. They certainly did not view Bunn as the “true victim” and

describing the false assertions as “exactly what happened” is far from true given the

facts that the BuzzFeed reporter knew.

      33.    Baker goes on to say, “Under Alabama’s archaic rape law, victims

must prove they “earnestly” resisted their attackers, and the investigator who

interviewed Megan quickly decided she hadn’t fought back against Bunn — she

hadn’t “kicked him or hit him," he explained. His investigation would conclude

that no rape occurred. But he didn’t stop there. Instead, he started building a case

against Megan, questioning her for multiple crimes she wasn’t even aware she

had committed. Later, when Megan tried to file a civil suit, she learned the only

way to escape possible prosecution for those crimes was to drop her case.”

      34.    The quoted parts of the article are false. The Defendants maliciously

published these statements to cause the public to believe the investigators made up

false charges to force Ms. Rondini not to pursue criminal charges against Bunn and

to forego a civil lawsuit against Bunn.

      35.    Defendants published the false statements about Jones and Hastings to

assert and lead the public to believe that the investigators “built” a case against Ms.

Rondini as a ploy to influence her to drop her rape allegations against Bunn.




                                                                        Page 14 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 15 of 51




      36.    In fact, during the alleged assault investigation, Ms. Rondini belatedly

volunteered/admitted that she had taken Mr. Bunn’s keys from his room while he

was asleep. Then entered Bunn’s car. Rondini admittedly found Bunn’s pistol. She

then “accidentally” fired the pistol toward Bunn’s house while in the driver’s seat.

She took the pistol from Bunn’s car and money from his wallet. She told Plaintiffs

Hastings and Jones much later that morning that she had left the gun on the ground,

by the road in Bunn’s neighborhood. She did not disclose any of this in her first two

interviews with police. Rondini admitted to multiple crimes without the need for

any “building of a case” by Jones and Hastings. BuzzFeed and Ms. Baker knew

these facts before the defamatory assertions and corruption insinuations were made

to indicate that the Plaintiff investigators were acting contrary to their duties as law

enforcement officers, were doing so to hurt the crime victim (Rondini) and to help

the criminal (Bunn) get away with rape.

      37.    The Article states, “Studies show that trauma victims often have

fragmented memories of assaults. When confronted with such gaps, police should

consider the possibility of drug-facilitated sexual assault, the International

Association of Chiefs of Police guidelines explain. But investigators never tested

Megan’s blood or urine, according to the state department that processes

toxicology reports, which found no records associated with Megan’s case.”




                                                                         Page 15 of 51
       Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 16 of 51




      38.    Defendants maliciously wrote and published this false statement to

convince the public the Plaintiff investigators improperly and/or intentionally failed

in their duty to test Rondini’s blood and/or urine when their job was to do so. The

BuzzFeed Defendants knew that the hospital, consulting with its patient, Ms.

Rondini, as part of the “rape” kit protocol, would draw blood and/or urine as

indicated and order the testing of same in such circumstances. BuzzFeed also knew

that Ms. Rondini admitted/declared that she had not been drugged, and further that

Ms. Rondini told Jones and Hastings, as well as her father, that there was no time

when Mr. Bunn could have given her a drug. The Defendants knew the hospital

took and tested Rondini’s urine.

      39.    The Article continues discussing the situation regarding Bunn’s

firearm, wallet and money, as follows: “Around 2 p.m., about 12 hours after

Megan had first reported the incident, Jones told her they were “close” on her

case but had some other issues to discuss.”

      “Before I ask you any questions, you got any reasoning behind why you

did what you did?” he asked Megan.

      “What do you mean?” Megan said.

      “I just need you to tell me, once we get into the questioning, what your

reasoning was about why you did these things,” he said.



                                                                       Page 16 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 17 of 51




       Megan stared at Jones as he read her Miranda rights before asking her

why she took Bunn’s gun. He didn’t tell Megan that, although she had entered

the room an alleged victim, she was now a suspect as well.”

       40.    BuzzFeed published these statements to mislead the public to conclude

the Plaintiff officers invented a case against Ms. Rondini and hid from her that she

was a suspect to induce Rondini to forego her assault allegations against Mr. Bunn

so Bunn could get away with raping Rondini. These statements and implications

are false but were written as fact. BuzzFeed and Baker intended for their readership

to believe the article.

       41.    The BuzzFeed Defendants falsely claim that Jones and Hastings, in a

conspiracy with others, invented a criminal case against Ms. Rondini to blackmail

her regarding pursuing Bunn. BuzzFeed’s purpose was to intentionally lead readers

to believe that there was no criminal conduct by Rondini.

       42.    Investigator Jones began questioning Ms. Rondini about the gun and

money only after Ms. Rondini belatedly volunteered that she had taken Bunn’s

keys, entered Bunn’s car and after that took the firearm from Bunn’s car.

       43.    Ms. Rondini admittedly discharged the firearm and then disposed of

the loaded gun and the other things taken from Bunn’s car on the grass by the road

in Bunn’s residential neighborhood. Indeed, a dangerous situation that investigators




                                                                     Page 17 of 51
         Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 18 of 51




had to immediately address. Jones interrupted the interview to see about the missing

loaded firearm.

        44.   Further, Investigator Jones gave Ms. Rondini every opportunity to

consider and explain her reasons for taking Bunn’s money and his gun and advised

her of her right to remain silent before any further questioning about Rondini’s

admissions. There was no intent or any attempt to hide from Ms. Rondini that her

admitted criminal conduct had necessarily become a subject matter of the interview

at that point. The BuzzFeed Defendants’ article vilifies Jones and Hastings based

on the above quoted intentionally false reporting of fact to convince its readers that

the investigator Plaintiffs willfully and wrongfully mislead Ms. Rondini in trying

to help Bunn. In this regard, the article is defamatory and malicious and

purposefully caused the officers to be vilified and scorned by the public.

        45.    The Article continues: “Eventually, Jones returned to Megan’s rape

allegations. “Based on your statements to me, you said that you never resisted

him,” he said.

        “I did resist him,” Megan said, listing the ways she did, from repeatedly

telling Bunn she wanted to leave to turning away when he kissed her. “I wanted

to go home,” she said. “He didn’t take me home.”

        “Look at it from my side. You never kicked him or hit him or tried to resist

him.”


                                                                       Page 18 of 51
       Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 19 of 51




      A few minutes later, Megan said she didn’t know if she wanted to press

charges after all.

      “I want to be done,” she said. “I just want to move on.”

      Jones offered to give her a “refusal to prosecute” form to sign.”

      The article continues:

      More than 40% of people who reported sexual assault in Tuscaloosa from

2011 to 2016 officially dropped their charges by signing such forms, according to

a BuzzFeed News analysis of the homicide department’s data. There are many

reasons why someone might not want to pursue a case, Hood said: “I know for

instance in many cases people are mad at someone initially, then change their

mind.” But the IACP tells police not to pressure victims to make any decisions

about prosecution during the initial stages of an investigation. Doing so is “poor

practice” and “potentially damaging to an agency,” its guidelines state.

      46.    In this part of the article, Defendants falsely claim that the Plaintiff

investigators wrongfully “pressured” Ms. Rondini to the detriment of their

department to get her to drop the criminal prosecution of Mr. Bunn. This is in accord

with the BuzzFeed Defendants’ article’s earlier defamatory assertions regarding the

creation of a criminal case against Rondini. The full videotaped interview of Ms.

Rondini, that Buzzfeed intentionally and maliciously omitted from their article,

makes clear that Investigator Jones tried to elicit from Rondini a definitive


                                                                      Page 19 of 51
           Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 20 of 51




statement that could meet the legal standards to support a sexual offense criminal

charge against Bunn under Alabama law. Jones was simply not able to do so. The

facts available at that time strongly indicated that a rape charge under the

circumstances given Rondini’s rendition of the facts was improbable. The

BuzzFeed Defendants knew this, they had these facts and more before publication,

but ignored those known facts to slander the Plaintiff officers and others. 6

         47.     Defendants intentionally, yet consistent with BuzzFeed’s goals and

agenda, distorted and omitted facts Baker knew to accomplish BuzzFeed’s purpose

of creating an internet sensation by maliciously vilifying these officer Plaintiffs and

the system under which they worked. The BuzzFeed Defendants, including Smith

and Baker, ignored the video of Ms. Rondini entering and then leaving her

apartment with Mr. Bunn and Mr. Barksdale recorded on July 1st and July 2nd of

2015 at Rondini’s apartment complex. Rondini was not “blacked out” nor did she

show any sign of being unstable or drugged on the tape. This video and other clear

evidence discovered by Jones and Hastings directly contradict multiple statements

made by Ms. Rondini in her interviews with Plaintiffs including that she did not

recall Bunn and Barksdale taking Rondini directly to her apartment after picking

her up walking home alone on University Blvd. late at night.




6
    See motive/malice allegations below.
                                                                        Page 20 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 21 of 51




       48.   Defendants knew, intentionally ignored and selectively omitted Ms.

Rondini’s July 1st and July 2nd, 2015, late night/early morning text messages

between her and her friends. That text conversation explicitly demonstrated that

Ms. Rondini intended to leave her apartment to voluntarily go home with Mr. Bunn.

Defendants’ article failed to address critical portions of Ms. Rondini’s text

messages so BuzzFeed’s slanderous and malicious article assertions would not lose

all public credibility regarding BuzzFeed’s libelous criticism of Jones’ and

Hasting’s investigation of the Bunn/Rondini situation.

       49.   Defendants falsely assert that Plaintiffs engaged in misconduct when

classifying the Rondini situation as a “special inquiry” rather than as a sexual assault

or rape in their paperwork. BuzzFeed knew the “special inquiry” designation

classifies reported incidents that do not initially meet the elements of a given crime.

The situation presents the need for more facts, evidence, and further investigation

to get to the level legally necessary to charge an individual with a crime under the

law.

       50.   The BuzzFeed publications consistently “cherry picked” and

intentionally omitted evidence which they knew led Jones and Hastings to conclude

that there was no “probable cause” present such that Bunn could be charged with

rape or another sexual offense under the Alabama law. Any competent and honest




                                                                         Page 21 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 22 of 51




criminal investigator would have reached the same result. So would any competent

and honest investigative reporter, editor and news publication. 7

       51.    Baker, Smith, and BuzzFeed ignored and omitted some of the evidence

as follows:

              •       Ms. Rondini telling Investigator Jones that she never

              feared for her life during the incident.

              •       Ms. Rondini telling Investigator Jones that she did not try

              to fight or resist Bunn to the level required under Alabama law.

              •       Ms. Rondini telling Investigator Jones that she let Bunn

              have sex with her because he was an influential person in

              Tuscaloosa.

              •       Ms. Rondini’s text messages to friends showing she

              planned to spend the night at Bunn’s house and that she expected

              to and was excited about having sex with Bunn.

              •       That Ms. Rondini was not fearful of Bunn.

              •       The fact that texts were written/sent while Ms. Rondini

              was on the way to Bunn’s house during her alleged memory

              lapsed “blackout” period.


7
  Compare the libelous articles discussed herein with the reporting of Stephanie Taylor and the
Tuscaloosa News, Files Detail Investigation Into Megan Rondini Case,
http://gatehousenews.com/investigativefiles/
                                                                               Page 22 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 23 of 51




            •       That Ms. Rondini never told Bunn “no,” “don’t” or “stop.”

      52.    BuzzFeed’s article also omits two pages of handwritten notes Ms.

Rondini composed at her father’s request, before her second interview with

Investigator officers on the morning of July 2, 2015.

      53.    Ms. Rondini clearly states that she let Bunn have sex with her. Also

omitted were the video/audio portions of the interviews of Ms. Rondini saying,

“when we had sex” and “we had sex.” Ms. Rondini does not claim that she ever

said “no,” “leave me alone,” or even “stop.” No statement Ms. Rondini gave to the

investigators states that Bunn raped or sexually assaulted her.

      54.    Ms. Rondini failed to resist at all, much less to the level required by

Alabama law as evidenced by her recorded testimony.

      55.    Ms. Rondini never presented to the Plaintiffs facts to support a rape

charge in Alabama. Further, the evidence is entirely clear that before and during the

trip to Bunn’s house from her apartment, Ms. Rondini anticipated and intended to

have consensual sex with Mr. Bunn. Baker, Smith, and BuzzFeed knew this.

      56.    The BuzzFeed reporter, Ms. Baker, knew of these text messages, knew

these texts were contrary to what she wanted/intended to portray in her article. The

articles intentionally failed to report these facts while libelously reporting that these

officers, Jones and Hastings, failed to do their duty and that their failure contributed




                                                                          Page 23 of 51
       Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 24 of 51




to the suicide death of Ms. Rondini. The BuzzFeed Defendants’ conduct here was

at worst purposeful/intentional and at best, reckless.

      57.    Defendants’ articles imply there was corrupt and collusive conduct

when Investigator Jones “abruptly” left the interview room right after Ms. Rondini

explicitly admitted that she left a stolen/loaded pistol from Bunn’s car on the ground

in the open in Bunn’s neighborhood. The gun was accessible to neighborhood

children and others for several hours before the officers recovered it.

      58.    Defendants did not report the fact that neither Plaintiff was responsible

for drawing blood or taking a urine sample from Ms. Rondini nor for ensuring

forensic testing where the hospital performed a basic rape kit. Additionally, in the

interview between Plaintiff Jones and Ms. Rondini, Rondini did not claim or

indicate a belief that any drug was involved. There was no evidence to suggest that

drugs were involved and no credible evidence to support a memory fault. Ms.

Rondini asserted there was no opportunity for her to have been “drugged.” In

Bunn’s interviews, he expressly admitted to having consensual sex with Ms.

Rondini.

      59.    The BuzzFeed Defendants intentionally failed to report a text message

between Ms. Rondini and her father where he asked her whether the nurse had taken

a blood sample to document if he (Bunn) had drugged her. Ms. Rondini replied to

her father, “I don’t think I was drugged because my drink never left my friends.”


                                                                          Page 24 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 25 of 51




But the BuzzFeed article persisted in slandering the integrity and reputations of

Investigators Jones and Hastings claiming falsely and without evidence that the

Plaintiff officers’ investigation by not taking and testing blood and urine was

inferior and collusive with an intent to let a rich rapist get by with a presumed crime.

      60.    Defendants’ articles intentionally omitted many facts that show these

investigators conducted a thorough and fair investigation without any interference

or outside influence by anyone, rich or poor.

      61.    This evidence was inconsistent with a drug-induced date rape, a rape

period, or any illegal, sexual misconduct. Nevertheless, the BuzzFeed articles

assumed “rape” occurred and that the failure to charge and Ms. Rondini’s death was

these officers’ fault because they failed to do their duty during the investigation.

      62.    BuzzFeed either knew its claims about Jones and Hastings were not

true or BuzzFeed had severe doubts about the truth given the evidence they had in

their possession.

      63.    The Defendants’ articles intentionally failed to point out many

inconsistencies in Ms. Rondini’s story and reported the officers erred when they

considered the direct inconsistencies including Ms. Rondini’s admission of intent

and consent to sex with Bunn.

      64.    Defendants published the subject libelous articles to its alleged 650-

million-person audience intentionally offering comment and additional “share”


                                                                         Page 25 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 26 of 51




opportunities to encourage readers to report and repost on their national social

media sites. Due to the articles’ subject matter and focus many Alabama, and

Tuscaloosa County citizens became aware of, read, discussed, repeated, and were

impacted by the articles and BuzzFeed solicited comments to it. Over 2,240,000

readers accessed the initial article within the first month after it was published

worldwide.

      65.    Defendants published to the public the above discussed false and

defamatory statements and implications of professional misconduct about Plaintiffs

on their website knowing that the libelous material was not true and, in an effort, to

damage the Plaintiff officers, their department, the University of Alabama and the

State of Alabama in the eyes of the public, locally and nationally. The purpose and

motive behind BuzzFeed’s vitriolic and factually false reporting were to underscore

and emphasize BuzzFeed’s agenda/belief that rape laws in Alabama and most other

states sheltered male rapists, especially “rich” ones and that countless rapists,

especially affluent ones get away with the crime. They also believe that elite

universities are safe havens for rapists and that a “rape culture” exists in and around

elite University campuses, including, the University of Alabama.




                                                                        Page 26 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 27 of 51




                                  ACTUAL MALICE

      66.    The facts show it is “plausible,” actually it is probable, that Ms. Baker,

Smith, and BuzzFeed News acted with “actual malice” in publishing the Rondini

Article on June 22, 2017, and the follow up on July 3, 2017.

      67.    Baker wrote and BuzzFeed News and the editor, Ben Smith, published

defamatory factual material about the Plaintiff officers while knowing that many of

the article’s factual assertions and implications were false.

      68.    BuzzFeed, Baker, and Smith, acted with reckless disregard of truth or

falsity in publishing factual untruths and false implications regarding Jones and

Hastings given what they knew about the Rondini/Bunn situation.

      69.    Defendants published the defamatory material about the Plaintiffs

while subjectively having serious doubts about the truth of the published

defamatory material about the Plaintiffs and their investigation.

      70.    BuzzFeed’s news publication goals are based on “sensational

presentation” in search of “viral” success on the internet. Truth and accuracy in

these libelous articles took a backseat to their goal of “viral” success.

      71.    BuzzFeed News websites, the history regarding topics, and published

articles demonstrate that stories about alleged rapes, unreported rapes, campus

rapes, failure to charge and prosecute rape cases, and the “rich and powerful” and

their advantages in allegedly corrupt systems are among BuzzFeed’s and Baker’s


                                                                        Page 27 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 28 of 51




favorite topics. These topics and the “crimes” involved top the list of lead BuzzFeed

“news” article subjects. Defendants believe these “rape culture” stories will help

them achieve the much sought after “viral” content and internet news success.

       72.     Katie J.M. Baker began working for BuzzFeed on April 1, 2014. She

was hired specifically to cover criminal justice, legal and social issues related to

college campuses. Baker was to work closely with Jess Testa who heads

BuzzFeed’s “rape culture coverage.” 8

       73.     Some of BuzzFeed’s and/or Baker’s illustrative headline articles

published before and after the Rondini/Bunn article are: 9

             • “Overly Aggressive” Prosecution of Vulnerable Women for False

               Rape Claims Could Deter Victims From Reporting Assaults, MPs

               Have Warned.”

             • “Hundreds of Women In UK Have Been Prosecuted For Lying About

               Rape”

             • “Maryland Victims No Longer Need to Prove They Physically Fought

               Their Rapist”




8
  See Katie J.M. Baker is Going to BuzzFeed, https://observer.com/2014/02/katie-j-m-baker-
is-going-to-buzzfeed/
9
  See Katie J.M. Baker, Articles Page on BuzzFeed
https://www.buzzfeed.com/katiejmbaker?language=all
                                                                           Page 28 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 29 of 51




            • “Maryland Lawmaker Seeks Change To Rape Law After BuzzFeed

                News Report”

            • “Stanford Sex Assault Judge Went Easy On Another Student Athlete”

            • “Elite Private School Accused Of Shielding Sex Abuse”

            •   “Sent Home From School After Reporting A Rape”

      74.       When the Defendants discovered the story of the young University of

Alabama coed, Megan Rondini, following her tragic suicide, Baker, Smith, and

BuzzFeed quickly concluded a sensational story would progress their agenda driven

“rape culture” reporting. Defendants could write, publish, and distribute an

incredibly vivid, extreme, and graphic “investigative article” about a rich older man

getting away with raping an innocent, 20-year-old University of Alabama student.

Ms. Rondini committed suicide after the University allegedly ignored her and local

police bullied and ignored her was internet gold in BuzzFeed’s eyes. The

Defendants believed this narrative was too good for them to pass up. Not because

of the story and truth but, because of the attention the “news” article could and

would eventually get BuzzFeed, Baker, and Smith on the internet.

      75.       Upon investigation Baker, Smith, and BuzzFeed realized the facts did

not support their theory and facing the drastic but certain probability of losing their

shot at ”viral” success, they ignored what they knew, manipulated facts, ignored

facts, and willfully discounted many “red flags” demonstrating their narrative was

                                                                        Page 29 of 51
          Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 30 of 51




false. The Defendants wrongfully and intentionally ignored the truth, wrote, and

published their false rendition of the Rondini/Bunn situation and the Plaintiffs’

investigation.

         76.   The Defendants’ articles demonstrate that they had full access to the

Plaintiffs’ investigative material and therefore, knowledge of the facts concerning

the underlying July 1st and 2nd, 2015, Bunn/Rondini situation and the subsequent

investigation. The Defendants’ purposely failed to fairly and accurately report the

truth.

         77.   The Defendants’ articles artfully, purposely, and systematically

avoided the facts that did not support their false rendition of what happened between

Rondini and Bunn. The libelous articles also ignored and distorted the narrative

about the Plaintiffs’ investigation.

         78.   Given the material and information Baker, Smith, and BuzzFeed

admittedly had, and what they knew from their pre-publication research and the

police investigation materials, the Defendants acted purposely with knowledge of

falsity in making the libelous statements and creating libelous and false implications

about the Plaintiff officers in the subject articles. The Defendants knew much of the

article was false. At the very least, the BuzzFeed Defendants acted with reckless

disregard of the truth because Baker and Smith had serious doubts as to the truth of




                                                                       Page 30 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 31 of 51




what they intended to report regarding the Plaintiffs and their investigation as well

as about the assumed underlying “rape” of Megan Rondini.

      79.      Baker, Smith, and BuzzFeed knew the facts concerning both the sexual

encounter between Bunn and Rondini and the subsequent Jones and Hastings

investigation. Baker, Smith, and BuzzFeed, instead of acting in good faith regarding

their factual knowledge and while entertaining serious subjective doubts on the

veracity of the published article, nevertheless, wrote and published the false account

about both the sexual assault and the officers’ job performance during the

investigation. The Defendants knew that the facts reported, and implications made

from them were probably false when they wrote and published them anyway. This

demonstrates subjective “actual malice.”

      80.      The facts establish that despite what BuzzFeed, Smith, and Baker

knew from their article research, the Defendants purposely avoided the truth when

they published the libelous articles. They acted with specific intent and purpose to

prevent publishing the truth in the articles. They ran from obvious truths.

      81.      Baker, Smith, and BuzzFeed admittedly had full access to evidence of

the facts including but not limited to:

            a) Information from Megan Rondini’s friends and her parents, Mike

               Rondini and Cynthia Rondini.




                                                                       Page 31 of 51
Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 32 of 51




 b) The information contained in the homicide investigation files

    compiled and maintained by investigators, Jones and Hastings and

    their department.

 c) Information from the files as to what Megan Rondini and T.J. Bunn

    told the investigators.

 d) Investigative information regarding what Megan Rondini’s friends

    told the investigators.

 e) Information from Bunn’s attorney.

 f) Information about Alabama’s rape law and the legal standards

    applicable for police and prosecutors to pursue rape charges in

    Alabama.

 g) Information about the investigative interviews and evidence provided

    by Rondini, Bunn, through recorded video, audio, and written

    statements.

 h) Information that the Plaintiff investigators were duty bound to gather

    all the evidence they could and to test that evidence against

    Alabama’s law to determine whether or not they should charge

    someone.

 i) Access to factual information from Ms. Rondini’s interviews and

    written statements and phone records regarding her social history at


                                                             Page 32 of 51
Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 33 of 51




    school, her frequent visits to Innisfree Pub, her drinking habits at bars

    (even though she was underage), and knowledge belief that T.J.

    Bunn, Jr., “Sweet Tea,” was from a wealthy and influential family in

    the Tuscaloosa community.

 j) Information negating the articles’ assertions and the author’s claims

    that Rondini “blacked out” between the time she left the pub until she

    was in Bunn’s car on the way to his home.

 k) Unreported information from videos, text messages and interviews

    that show Ms. Rondini had not blacked out but instead was awake

    and alert during the visit to her apartment and was texting and

    Snapchatting friends during the trip to Bunn’s house.

 l) Access to the initial incident reports taken at the hospital both DCH

    Doctor and employees and a Tuscaloosa Police Officer.

 m) Copies of the audio and video interviews with Rondini, Bunn, and

    other witnesses.

 n) Access to the information on Megan Rondini’s cell phone which was

    downloaded by both the Plaintiffs during the interviews with Megan

    Rondini on July 2, 2015. This material was used in the first BuzzFeed

    article by Baker.




                                                              Page 33 of 51
       Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 34 of 51




            o) Two pages of notes from the investigation file about which the article

               says, Rondini “brought two pages of handwritten notes she’d taken

               so she wouldn’t forget any details.

            p) Text messages on Rondini’s phone she sent during the interview

               regarding investigator Jones being upset about the gun.

            q) The notes and records from therapists at the University’s Women and

               Gender Resource Center.

            r) Text messages from Rondini’s phone after she returned to the

               University for the fall semester in August 2015.

      82.      BuzzFeed, Baker, and Smith discovered and reviewed the evidence,

including the trip monitoring videos and Rondini’s phone records. Defendants knew

Rondini was not raped or subjectively had serious doubts regarding whether Bunn

had raped Rondini. The Defendants also knew there was no possibility of

sustainable rape charges or had serious subjective doubts on whether or not sexual

assault even occurred and knew charges could not be brought, factually or legally

under the Alabama law.

      83.      The text message conversation between Rondini and her friends during

the time Rondini was allegedly “blacked out” according to the article, is evidence

that Baker, Smith, and BuzzFeed knew there was little or no credibility to the



                                                                         Page 34 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 35 of 51




Rondini sexual assault/rape allegations. There was even doubt about whether

Rondini ever made a rape claim at all to investigators Jones and Hastings.

      84.    BuzzFeed and Baker knew it was much more likely than not that the

sexual encounter between Bunn and Rondini was planned, welcomed, voluntary

and consensual from Rondini’s perspective.

      85.     Significantly, Baker, Smith, and BuzzFeed also knew that if they

disclosed and/or acted on the facts and reported on the evidence showing Rondini’s

clear intent to have voluntary, consensual sex with Bunn, that BuzzFeed could not

publish and would have to scrap the pre-planned, sensational, and “viral” story. The

entire basis for the story was a false assertion that Mr. Bunn raped Ms. Rondini and

got away with it because the Plaintiffs failed to do their duty as police investigators.

      86.    Rather than not publish or publish the truth, Baker, Smith, and

BuzzFeed decided to ignore the facts and publish the story, absent the truth, to help

Defendant BuzzFeed gain “viral” success online by slandering the Plaintiffs.

      87.    The article states that Rondini told the investigators she didn’t recall

calling or texting anyone while in Bunn’s car on the way to his house. The

defamatory publication also ridiculously claims Rondini was “blacked out” or could

not remember the texts.

      88.    However, the most pertinent and unfavorable portion of Megan

Rondini’s text message dialog during the early morning of July 2, 2015, transpired


                                                                         Page 35 of 51
       Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 36 of 51




during the ride in Bunn’s Mercedes from her Houndstooth Residence on 15th Street

to Bunn’s house in Cottondale.

      89.   The distance between Rondini’s apartment and Bunn’s Cedar Drive

house in Cottondale is approximately 7 miles or roughly a 15-minute drive. During

the ride out to Bunn’s home, Rondini texted with friends in the following

conversation:

            • 12:05 a.m. Megan to Friends: “Pick me up in the morning”

            • 12:06 a.m. Friend to Megan: “Kk I have class at 10 so early

                ish”

            • 12:08 a.m. Megan to Friends: “We are going to guck”

            • 12:08 a.m. Megan to Friends: “😎😎”

            • 12:11 a.m. Friend to Megan: “Do it 💰💰”

            • 12:11 a.m. Friend to Megan: “Wear a condom”

            • 12:11 a.m. Friend to Megan: “Good luck”

            • 12:13 a.m. Megan to Friends: “Eww but I’ll make it real

                good”

            • 12:14 a.m. Friend to Megan: “Hahah like a tru horseback

                rider”

      90.   Ms. Rondini and her friends’ text conversation contradicts

Defendants’ pre-conceived storyline published in the libelous articles about the
                                                                   Page 36 of 51
       Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 37 of 51




Investigators, other individuals, and entities. Baker, Smith, and BuzzFeed knew

about these texts. Nevertheless, Baker and BuzzFeed published the subject article

knowing it was highly likely there was no rape of Ms. Rondini and that it was

impossible to bring criminal charges against Bunn. Defendants’ knowledge of the

text message conversation is subjective evidence of actual malice that goes far

beyond mere plausibility.

      91.    The defamatory article, without regard to the truth and regard to the

fact Baker, Smith, and BuzzFeed knew their rape premise was not true, falsely

reported that Jones and Hastings failed to do their jobs, bullied Rondini who was an

innocent rape victim, falsely accused her of crimes, were not adequately trained or

supervised, and were involved in a conspiracy with their superiors and others to let

a guilty, but rich rapist get away with the rape of a young student in deference to

his family’s wealth and status in the community.

      92.    BuzzFeed solicited comments and published them after posting the

article online. Those comments establish that BuzzFeed readers believed these false

assertions. This result followed the Defendants’ agenda driven goal, and the

Plaintiff investigators were after that subjected to hate and ridicule. The Plaintiffs

suffered irreparable harm in their community, across the nation, and worldwide.




                                                                       Page 37 of 51
       Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 38 of 51




                                   DAMAGES

      93.    The Defendants’ defamatory articles accuse the Plaintiffs of crimes

and/or extreme moral delinquency subjecting the Plaintiffs to disgrace, ridicule,

odium, and/or contempt in their community and nationally which is slander per se.

      94.    The Defendants’ libelous articles injured the Plaintiffs’ reputations,

lowering them in the estimation of their community and deterred others from

associating with them. As evidence of this, Defendant BuzzFeed posted numerous

public comments on their various websites. Defendant BuzzFeed also embedded

those comments directly below the articles’ on their main website. The defamatory

articles incited numerous reader comments (attached hereto and incorporated

herein as Exhibit 5) leading to extraordinary damage to the Plaintiffs’ reputation

and community standing.

      95.    The Defendants solicited public feedback regarding the libelous

articles and posted those comments online. These comments indicate the terrible

public reaction to the defamatory articles provoking horrible statements about the

Plaintiffs and their moral integrity. A selection of those comments is included here:

                • “These police officers should be in jail. They blamed

             the victim, were paid by the rapist to cover it up, and are

             100% responsible for her death. This bastard is still out there

             raping women, because Tuscaloosa has no cops, no district

                                                                      Page 38 of 51
Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 39 of 51




    attorney, and is in fact bought and paid for by one evil

    murdering rapist bastard.”

       • “For her family and friends, my heart grieves. There are

    no words to describe how heartbroken and sorry I am for

    everything they've been put through and are going through.

    Similarly, there are no words to describe how disgusted and

    ashamed I am of the investigation team, UA, and my state in

    general.”

       • “The "good ol'boys club" need to be disbanded and

    prosecuted. I hope the Dept. of Justice takes this up and makes

    the Tuscaloosa dept. responsible for their negligent acts.”

       • “The men in authority bent the rules to help the rapist but

    the women in authority "followed protocol" even if it ended up

    hurting Megan…”

       • “There are so many things wrong with this story. A woman

    goes to the police to report sexual assault and the investigator

    becomes more concerned with the fact she took THREE

    DOLLARS and a gun. She was raped, why is self-defense so

    shocking afterward? To the ignorant investigator: you didn't

    believe her because she didn't try to fight him off, but you get

                                                             Page 39 of 51
Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 40 of 51




    upset with her for taking a gun for her safety. That doesn't make

    a lot of sense, does it? Another point- a woman didn't take her

    own life because she endured CONSENSUAL SEX- she took her

    own life because she was raped and instead of receiving help, she

    was accused of crime; her issue completely ignored. Then the

    jury- AFTER SHE KILLS HERSELF- decides to not prosecute

    him. This story is horrifying; this man sued his way out of a DUI,

    using his family's power and wealth to save himself from any sort

    of repercussions from the law for dangerously DRIVING

    DRUNK, so why are so many men of the police department

    putting rape past him- using his money for a great lawyer

    and his power to have these officers up his ass. The law

    should not be stretched for someone who is wealthy,

    especially with someone else's livelihood at stake. How much

    more does this 10/98 cases need to grow, and how many more

    women need to be ignored, develop mental health issues, drop

    out of school/college, check into a mental institution, see

    therapists, even take their own lives before something is

    seriously changed in this system?”




                                                             Page 40 of 51
Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 41 of 51




       • “I hope the cops are charged with negligent homicide

    because their negligence led to her death. Anyone telling a

    rape victim 'You consented. You just don’t remember doing it'

    has no business being in law enforcement”

       • “…I am so disappointed in how agencies reacted under

    big money influence and "good 'ole boy" politics….Most of

    all - Tuscaloosa PD - atrocious handling of the investigation.

    It was apparent that they were biased in favor of Bunn from

    the start - leading questions to damage her and leading

    questions to help him. So so wrong! I'm usually a very strong

    supporter of Law Enforcement, but I gotta say, in this case they

    really come off as the bad guys!”

       • “I'm originally from Tuscaloosa and love my hometown

    however I am absolutely shocked but not surprised by this

    situation. What a terrible injustice -- just because a prominent

    family knows "everybody" does not excuse the unacceptable

    way that Tuscaloosa's law enforcement agency conducted the

    investigation. Makes me sick to think that once the alleged

    perpetrator was interviewed, the conversation centered initially

    around a "fishing trip". Totally outrageous. What happened to

                                                           Page 41 of 51
           Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 42 of 51




                 this young woman and the way she was treated is a classic

                 example of the "good ole' boy" network in Tuscaloosa County.”

                    • “Tuscaloosa law enforcement…Josh Hastings, UA

                 Tuscaloosa and too many others to name...I pray you get

                 everything you deserve....which is to rot and burn in hell.

                 God WILL deal with you all.”

                    • “This Bunn guy and that investigator Jones are just the

                 start of the list of people that disgust me. In what world is it

                 not considered rape unless she was violent back against him? She

                 said no, that's all it matters.”

         96.     Plaintiffs suffered and continue to incur substantial damages as

resulting from the Defendants’ publication of the libelous articles including

defamatory statements and misleading inferences.

         97.     On September 24, 2018, Plaintiffs sent a retraction demand to the

Defendants. 10 On October 11, 2018, Defendants refused to retract the defamatory

sections of the articles. 11




10
     See Exhibit 3 attached hereto and incorporated herein
11
     See Exhibit 4 attached hereto and incorporated herein
                                                                        Page 42 of 51
       Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 43 of 51




                                   COUNT ONE

 DEFAMATION & LIBEL FOR PUBLICATION OF THE JUNE 22nd, 2017
   AND JULY 3rd, 2017 ARTICLES BY BUZZFEED, BEN SMITH AND
                        KATIE J.M. BAKER

      98.    Plaintiffs, Hasting and Jones, re-allege and incorporate each of the

foregoing paragraphs as if fully set forth here.

      99.    Defendants, BuzzFeed, Smith and Baker, published the first libelous

article headlined, “A College Student Accused a Powerful Man of Rape, Then She

Became a Suspect”, to the public on June 22, 2017.

      100. Defendants published a follow-up article involving the same subject

on July 3rd, 2017 entitled, “The Parents of a College Student Who Killed Herself

After Reporting She Was Raped Have Filed a Wrongful Death Suit.” This article

repeated and confirmed BuzzFeed’s initial publication concerning the Plaintiffs and

continued the defamatory and untrue narrative that Investigators Hastings and Jones

incompetently and corruptly investigated Megan Rondini’s claims regarding her

encounter with T.J. Bunn.

      101. The Defendants’ articles contain defamatory statements and false

implications about Adam Jones and Joshua Hastings libeling them regarding their

jobs as law enforcement investigators and as persons of high moral integrity.



                                                                     Page 43 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 44 of 51




       102. The public comments and reactions after reading the subject articles

leave no doubt the Defendants intended to accuse the Plaintiff officers of

incompetence, corruption, being morally bankrupt, and other wrongdoing

concerning the Rondini/Bunn investigation. Reader comments demonstrate the

Defendants successfully accused the Plaintiffs of such moral and professional

failings.

       103. Plaintiffs’ reputations as highly skilled and competent law

enforcement investigators of high moral character were severely damaged when the

Defendants published the subject articles’ false allegations and implications. The

misleading statements and intended false inferences were designed to and did harm

the Plaintiffs’ reputations both professionally and personally. Plaintiffs and their

families were subjected to hatred and contempt in their community deterring people

from associating with them.

       104. Defendants caused substantial harm to both Jones and Hastings, as set

forth herein when they published the articles including false and defamatory

statements and implications about the officers.

       105. BuzzFeed, Smith, and indeed Ms. Baker knew the subject statements

and implications were false concerning Jones and Hastings or the Defendants had

evidence such that they subjectively had serious doubts as to the truth of the same.




                                                                      Page 44 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 45 of 51




      106. The Defendants, based on the evidence, knew the libelous information

published was likely false and/or in need of further investigation and review.

Defendants’ failure to do so amounts to “actual malice.”

      107. BuzzFeed, Smith, and Baker purposely avoided the truth, deliberately

failed to investigate, and ignored the material available to them. Defendants did not

follow fundamental reporting obligations. Instead, they sidestepped facts publishing

dishonest and defamatory articles concerning the Plaintiffs to promote their “rape

culture” agenda-driven narrative and distributing the articles as “investigative

journalism” to the public.

      108. BuzzFeed, Smith, and Baker knew their articles falsely characterized

the Plaintiffs and their role in the narrative or recklessly disregarded the truth about

Hastings and Jones and their investigation when they published the libelous articles.

      109. Defendants’ published articles that are libelous, dishonest, malicious,

willful, and wanton demonstrating a conscious and purposeful disregard for the

assured harm inflicted on the Plaintiffs and their families. Under these

circumstances, punitive damages are entirely appropriate and warranted.

      110. The Defendants’ statements, set forth herein concerning Plaintiffs

Jones and Hastings, are libelous per se. Defendants’ statements falsely accuse these

officers of being unfit to perform their duties as investigators, intentionally

abandoning their law enforcement responsibilities, corruptly investigating the


                                                                         Page 45 of 51
        Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 46 of 51




Rondini/Bunn situation, and being improperly influenced in an attempt to curry

favor with Bunn and his family. The Defendants portrayed the Plaintiffs as morally

bankrupt.

      111. The articles’ accusations and implications prejudiced and harmed the

Plaintiffs regarding their profession as law enforcement officers and subjected them

and their families to unjust ridicule, condemnation and caused other damages set

forth herein.

      WHEREFORE, Plaintiffs respectfully requests an award of damages

proceeding from the illegal libelous conduct of the BuzzFeed Defendants as

follows:

      1) An award by the jury of compensatory damages in excess of the

            jurisdictional amount of seventy-five thousand dollars ($75,000) to

            compensate each Jones and Hastings for the damage caused including the

            damage inflicted upon their reputation, their public ridicule and contempt,

            their standing in the community, their personal humiliation, their

            inconvenience and aggravation and their mental anguish and suffering.

      2) An award of punitive/exemplary damages given the conscious and

            deliberate conduct of the Defendants in engaging in oppression, fraud,

            wantonness, and malice in such amount as the jury deems necessary and

            just to first punish the Defendants by money damages for their conduct


                                                                        Page 46 of 51
       Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 47 of 51




         and secondly to deter the Defendants and others similarly situated from

         doing such wrongs in the future.

      3) An award of money damages for each repetition of the libelous articles

         because the Defendants, as the original defamer, encouraged repetition at

         the time of the publication when they promoted “share” “like” and

         “comment”      opportunities   of   the   defamatory articles     including

         Defendants’ native advertising campaign driving readers to their content.

      Plaintiffs request an amount to be determined by a jury and such other, further

or different relief which the Court finds appropriate.

                     PLAINTIFFS REQUEST A TRIAL BY JURY.

               Respectfully submitted this 7th day of March, 2019.




                                                                      Page 47 of 51
Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 48 of 51
Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 49 of 51
      Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 50 of 51




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                                                              Page 50 of 51
       Case 7:19-cv-00403-RDP Document 1 Filed 03/07/19 Page 51 of 51




                         CERTIFICATE OF SERVICE


       I, the undersigned, hereby certify that I have on this date, served a copy of
the foregoing upon the following via private process server, and/or by U.S.P.S.
certified mail, return service requested, with adequate postage prepaid, and/or
electronic mail, and/or regular mail, and/or hand delivered, and/or by filing a copy
of the foregoing using the AlaFile system which will automatically notify all
counsel of record, and/or by filing a copy of the foregoing with the Clerk of Court
using the CM/ECF system which will provide notice to the following CM/ECF
participants:



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 BuzzFeed News (a subdivision of
 BuzzFeed, Inc.)
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 Katie J.M. Baker
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                                       /s/ Bobby H. Cockrell, Jr.
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                                                                     Page 51 of 51
